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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

       INTERSECTIONS INC. and        .             Civil Action No. 1:09cv597
       NET ENFORCERS, INC.,          .
                                     .
                 Plaintiffs and      .
                 Counter-Defendants, .
                                     .
            vs.                      .             Alexandria, Virginia
                                     .             February 19, 2010
       JOSEPH C. LOOMIS,             .             10:00 a.m.
                                     .
                 Defendant and       .
                 Counter-Plaintiff, .
                                     .
            and                      .
                                     .
       JENNI M. LOOMIS,              .
                                     .
                 Defendant.          .
                                     .
       . . . . . . . . . . .

                             TRANSCRIPT OF MOTION HEARING
                       BEFORE THE HONORABLE LEONIE M. BRINKEMA
                             UNITED STATES DISTRICT JUDGE

       APPEARANCES:

       FOR THE PLAINTIFFS AND             MICHELLE J. DICKINSON, ESQ.
           COUNTER-DEFENDANTS:            DLA Piper LLP (US)
                                          6225 Smith Avenue
                                          Baltimore, MD 21209

       FOR DEFENDANT JENNI M.             EUGENE W. POLICASTRI, ESQ.
           LOOMIS:                        Bromberg Rosenthal LLP
                                          401 N. Washington Street
                                          Rockville, MD 20850

       OFFICIAL COURT REPORTER:           ANNELIESE J. THOMSON, RDR, CRR
                                          U.S. District Court, Fifth Floor
                                          401 Courthouse Square
                                          Alexandria, VA 22314
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                                     (Pages 1 - 8)

                 COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES
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    1                            P R O C E E D I N G S

    2              THE CLERK:    Civil Action 09-597, Intersections Inc., et

    3   al. v. Joseph C. Loomis, et al.       Would counsel please note their

    4   appearances for the record.

    5              MS. DICKINSON:    Good morning, Your Honor.      Michelle

    6   Dickinson for the plaintiffs, Intersections and Net Enforcers.

    7              THE COURT:    Good morning.

    8              MR. POLICASTRI:    Good morning.     Gene Policastri for the

    9   defendant Jenni Loomis.

   10              THE COURT:    All right.    As you know, the plaintiffs have

   11   moved for a stay of this action as to Ms. Loomis.         This is a case

   12   which Judge Buchanan spent a great deal of time on and advised the

   13   Court some time ago that the case had settled.        The parties had

   14   reached an agreement, they were working on the papers, and

   15   Mr. Loomis was supposed to be working on some financial

   16   transactions in order to be able to fulfill the agreement, and

   17   Ms. Jenni Loomis had signed on to that agreement.

   18              Of course, as we all know, what happened was, in fact,

   19   there has been a change of position by Mr. Loomis, and he has, in

   20   fact, filed for bankruptcy protection, and I understand from

   21   what's just been filed that the plaintiff is moving to have that

   22   stay lifted, but the reality of it is at this point, this case is

   23   a bit of a mess.

   24              I know that Ms. Loomis wants the case resolved

   25   expeditiously, but I don't think that this makes good sense given
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    1   the background of this case.      No. 1, I think there is a legitimate

    2   issue as to whether or not the parties reached a settlement, and

    3   this Court takes settlement agreements very seriously, and that

    4   issue has to be resolved, and it can't really be resolved without

    5   Mr. Loomis's involvement, and so the request that there be some

    6   short stay makes good sense to the Court.

    7              So I'm going to grant the motion to stay to this extent:

    8   I want to see what happens with the bankruptcy court and whether

    9   or not the bankruptcy court agrees to lift the stay.         If the stay

   10   is lifted, then it's my understanding that the first thing that's

   11   going to happen is there will be a motion by the plaintiff to

   12   enforce the settlement agreement.

   13              Is that a correct understanding of what's going to

   14   happen?

   15              MS. DICKINSON:    Your Honor, it would be a motion to --

   16   it would be a motion to declare the enforceability of the

   17   settlement agreement as to Joe Loomis, because it would have to be

   18   enforced in the bankruptcy court, and it would be -- but we would

   19   seek to enforce the agreement as to Jenni Loomis here in this

   20   court.

   21              THE COURT:    Right.   Now, I have had those proceedings

   22   before, and I just want to put everybody on notice that they're

   23   not pretty, because it will require that the attorneys be called

   24   as witnesses to testify, and so what you-all have to be thinking

   25   about is the potential conflicts of interest that you may have as
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    1   to your various clients, and, of course, this adds additional

    2   expense to this litigation.

    3              As I understand it, because I know what her practice is

    4   and I think some of this is recited in the plaintiffs' papers,

    5   Judge Buchanan's practice -- and she, I believe, followed it

    6   here -- is after the parties have reached a settlement, and, of

    7   course, they are always oral at that point, because all the

    8   nitty-gritty details haven't been written down, she writes down an

    9   outline of what has been agreed to, and she has the parties

   10   confirm that that is, in fact, the agreement, and that becomes

   11   pretty powerful evidence that an agreement has been formed.

   12              So again, I've had one or two of those types of

   13   evidentiary hearings, but I'm just putting counsel on notice that

   14   if the bankruptcy court lifts the stay or even if it doesn't,

   15   there may still be a motion to enforce the settlement agreement as

   16   to Jenni Loomis.    Counsel need to be prepared to be looking for

   17   further counsel or at least to address the ethical issues of

   18   serving as a witness in such a proceeding.

   19              How long do you expect the bankruptcy court is going to

   20   take to decide the stay issue, the lifting the stay issue?

   21              MS. DICKINSON:    Our bankruptcy court at -- our

   22   bankruptcy attorney at DLA Piper has advised us that it could

   23   happen as quickly as 30 days, but he felt that giving us 90 days

   24   would be enough time for us to get the issue resolved.

   25              THE COURT:    All right.   I'm going to go ahead and grant
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    1   the 90-day request, and I'll issue an order to that effect and

    2   require that there'll be a status conference at the end of that

    3   time period to see where this case is.

    4               Now, having said that, I know you-all invested a great

    5   deal of time in settling, and just remind me, the various

    6   sanctions motions that were out there, were those basically

    7   abandoned because the case settled, or were there final rulings on

    8   those motions?

    9               MS. DICKINSON:   The motion for sanctions as to the

   10   spoliation had not been decided.      Their response was due the day

   11   after Joe filed bankruptcy.      That was only as to Joe, not as to

   12   Jenni.    The hearing was supposed to be that Friday.

   13               THE COURT:   All right.

   14               MS. DICKINSON:   Now, there were other sanctions motions

   15   where attorneys' fees were to be awarded to, to the plaintiffs.

   16               THE COURT:   Under rule 37 for violations of discovery

   17   orders?

   18               MS. DICKINSON:   Yes, Your Honor.

   19               THE COURT:   Okay.

   20               MS. DICKINSON:   And those were outstanding.

   21               THE COURT:   All right.

   22               MS. DICKINSON:   So we had submitted our attorneys' fees

   23   for one of the motions, we had not submitted our attorneys' fees

   24   for the other, and Judge Buchanan was waiting for us to brief the

   25   reasonableness of our fees.
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    1               THE COURT:   All right.   Well, I'm going to call off the

    2   trial for March 1, so that's off the docket.        We'll address this

    3   case in approximately 90 days as a status conference.

    4               Now, anytime before then if something dramatically

    5   changes, especially with Ms. Loomis, you can advise chambers, and

    6   I would think that Ms. Loomis needs to think very carefully about

    7   how much further she wants to keep, you know, litigating this

    8   matter, but that's, that's up to her and counsel to decide.

    9               MR. POLICASTRI:   That is, of course, a financial

   10   decision.   She doesn't have the money to pay for a trial, and she

   11   doesn't have the money to pay them, so -- and under the terms of

   12   the settlement agreement that were constructed, the idea was that

   13   this settlement agreement would be funded by money and properties

   14   from Joe Loomis, and I don't think there was ever any

   15   contemplation that if Joe Loomis didn't pay anything, that Jenni

   16   Loomis would be paying the 7 million.

   17               She may be obligated to pay it; that's something we'll

   18   decide at a later date; but whether or not she can pay it is, I

   19   think, a different issue; and I think everybody recognizes that.

   20               THE COURT:   Well, there may still be some creative way

   21   you-all can work out a satisfactory resolution as to, as to Jenni

   22   Loomis.   I mean, obviously, the old adage that you can't get blood

   23   from a turnip, if she has no money, she has no money.

   24               However, the little I know about this case is there

   25   certainly have been allegations that some of these monies were
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    1   being diverted to family members by Mr. Loomis, and there would

    2   have to be some issue about access to her financial records, etc.,

    3   to satisfy the plaintiffs, which is not happening.

    4                MR. POLICASTRI:   Which I would be willing to give the

    5   plaintiffs --

    6                THE COURT:   Yeah, so --

    7                MR. POLICASTRI:   Michelle Dickinson and I have discussed

    8   this, and I'm willing to give them a financial statement that

    9   shows exactly what she has, what she got.

   10                THE COURT:   Or continuing access to -- I mean, again, I

   11   would think if, in fact, Ms. Loomis is a party from whom the

   12   plaintiffs don't realistically anticipate recouping any resources

   13   and that she was in this case primarily perhaps to put some

   14   pressure on Mr. Loomis, I don't know why she's here, but again,

   15   you worked so hard on getting a settlement.        There is no reason in

   16   my view why you couldn't continue to work in that direction as to

   17   Jenni Loomis.

   18                MR. POLICASTRI:   And I'm not opposed to that, either.

   19                THE COURT:   All right.    Well, then if you both are of

   20   that mind, again, see what you can do with Judge Buchanan, all

   21   right?   She's the one who has the background on trying to resolve

   22   this case.

   23                But in the meantime, everything will be stayed, and, of

   24   course, there are still those pending motions for sanctions and

   25   attorneys' fees that if for some reason you don't settle and the
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    1   case gets back on the docket, everybody is still exposed on those

    2   things, all right?    Thank you.

    3              MR. POLICASTRI:    Thank you.

    4              MS. DICKINSON:    Thank you, Your Honor.

    5                                (Which were all the proceedings

    6                                 had at this time.)

    7

    8                         CERTIFICATE OF THE REPORTER

    9        I certify that the foregoing is a correct transcript of the

   10   record of proceedings in the above-entitled matter.

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   13                                                  /s/
                                                Anneliese J. Thomson
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